Case 1:18-cr-00101-PAC Document19_ Filed 09/24/18 Pagei1of1

15 sh Mes SDNY
DOC SUIMENT
J enare CIPRO NICALLY FILES!

CAMILLE M. ABATE, ESQ.
ATTORNEY AT LAW

——$—aeep OC: ie

Of Counsel, Nicholas Goodman & Associates
30 West 22"¢ Street, Suite 2E, New York, NY 10010
TEL: (2§2) 227-9003 « FAX: (212} 937-2112

September 24, 2018

Hon. Paul A. Crotty
United States District Court

Southern District of New York gfe A LLG
$00 Pearl Street ] idee. £
New York, NY 10007 Khe meeblocs ‘Af tad

(Mind, bleh. i dots fb fd pes
Re: Request for Adjournment of ie Gf /
United States v. Casey Michael Antone, 18 Cr. 101 (PAC) ay Atel

Dear Judge Crotty: Any

I am writing to request an adjournment of sentencing for the above captioned case,
currently scheduled for tomorrow, September 25. I ask that it be rescheduled for Thursday,
October 25, 2018 at noon.

I did not receive the final presentence report until last Tuesday, September 18, 2018. At
that point I was spending all of my time on preparing for a bail revocation hearing in another
case before Your Honor, USA v. Lawrence Wolf, 18 Cr. 256 (PAC), I have not had time to
prepare a sentencing memorandum for Mr. Antone.

T have spoken to AUSA Jessica Greenwood and she consents to an adjournment of the
sentencing.

Thank you.
Sincerely,
SAS

Camille M. Abate

cc: Jessica Greenwood (via ECF)
